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LINN COOK,
Petitioner,r
v. No. 04-2101-B/v

WAYNE BRANDON, WARDEN,

Respondent.

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ORDER DENYING MOTION FOR RELIEF FROM JUDGMENT

 

Petitioner Linn Cook filed a petition pursuant to 28 U.S.C.
§ 2254. On September 13, 2004, the Court dismissed the petition
without prejudice after determining that all issues raised in the
habeas petition were raised in his ongoing state court post
conviction proceeding. Cook had not exhausted his state remedies
on any claim presented. The Court entered its judgment on
September 16, 2004.

On March 3, 2005, Cook filed a motion for relief from judgment
pursuant to Fed. R. Civ. P. GO(b). Although Cook has made two
state court appearances since the dismissal of this petition,l he
again contends that the state court's delay in adjudicating his

post conviction petition excuses his failure to exhaust state

 

l Cook alleges that at the hearing on October 28, 2004, the state

court judge requested a copy of the issues raised in this petition. Thus, Cook
himself delayed action in the state proceeding by filing this premature
petition.

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remedies. The Court's review of the state court docket reveals the
state court has scheduled a hearing on the petition for May 19,
2005.

Cook has not exhausted.his state remedies if “he has the right
under the law of the State to raise, by any available procedure,
the question presented” to the district court. 28 U.S.C. §
2254(c). Cook does not allege that he has availed himself of other
available state remedies on the issue of any delay in adjudicating
his post conviction petition, such as a petition for certiorari or
mandamus to the extent applicable.

Lack of exhaustion may be excused if pursuit of available
state remedies would be fruitless because "circumstances exist that
render such, process ineffective to protect the rights of the
applicant." 28 U.S.C. § 2254(b)(l)(B}(ii). The Court finds that
Petitioner has again failed to establish that circumstances exist
that render the state post conviction process ineffective to
protect his rights. Cook's post conviction proceedings are ongoing
and he presents no argument meriting further discussion.
Accordingly, the Rule 60(b) motion is devoid of merit, and is

DENIED.

iT rs so oRDERED this day er y, 2005.

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NIT D sTATEs DIsTRICT JUDGE

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Linn Cook

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Honorable J. Breen
US DISTRICT COURT

